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                       UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


CHRISTINE CRAWFORD, et al.,
                                                      Case No.: 1:20-cv-05132
               Plaintiffs,
                                                      Hon. Steven C. Seeger
       v.

MCDONALD’S USA, LLC, a Delaware
limited liability company, and
MCDONALD’S CORPORATION, a
Delaware corporation,

               Defendants.



  DEFENDANTS’ MOTION FOR LEAVE TO FILE SUPPLEMENTAL AUTHORITY


       Defendants McDonald’s USA, LLC and McDonald’s Corporation (collectively,

“Defendants”) hereby move the Court for leave to file the opinion in Byrd, et al. v. McDonald’s

USA, LLC et al., Case No. 1:20-cv-06447 (N.D. Ill), a copy of which is annexed hereto, as

supplemental authority in support of Defendants’ Rule 12(b)(6) Motion to Dismiss Plaintiffs’

Amended Complaint. (Dkt. 38.) Counsel for Defendants inquired as to whether Plaintiffs object

to the instant motion, but Plaintiffs’ counsel did not respond.

       In support of this motion, Defendants state as follows:

       1.      On December 21, 2020, Defendants filed a Rule 12(b)(6) Motion to Dismiss

Plaintiffs’ Amended Complaint. (Dkt. 38.)

       2.      On January 19, 2021, Plaintiffs filed a Response in Opposition to Defendants’

Motion to Dismiss. (Dkt. 44.)




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       3.      On February 2, 2021, Defendants filed a Reply in Support of their Motion to

Dismiss. (Dkt. 48.)

       4.      On June 9, 2021, the Honorable Harry D. Leinenweber issued an Amended

Memorandum Opinion and Order in Byrd, et al. v. McDonald’s USA, LLC et al., Case No. 1:20-

cv-06447 (N.D. Ill.), addressing allegations similar to those made in the instant case.

       Accordingly, for the reasons stated above, Defendants respectfully request leave to file the

supplemental authority cited above and annexed hereto.


                                                     Respectfully submitted,

Dated: June 14, 2021                                  /s/ Patricia Brown Holmes

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